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            In the United States Court of Federal Claims
                                   No. 07-627C
                               Filed: July 11, 2008
                              TO BE PUBLISHED*
 *************************************
                                       *       Administrative Dispute Resolution Act of
                                       *          1996, 28 U.S.C. § 1491(b);
                                       *       Administrative Procedure Act,
                                       *          5 U.S.C. § 706;
                                       *       Bid Protest;
                                       *       Cargo Preference Act of 1904, 10 U.S.C. §
 SEALIFT, INC.,                        *          2631(b);
                                       *       Competition in Contracting Act of 1984,
       Plaintiff,                      *          10 U.S.C. § 2305(b), 31 U.S.C. § 3551,
                                       *          31 U.S.C. § 3553(d),
 v.                                    *          41 U.S.C. § 253(a)(1)(A);
                                       *       Interested Party;
 THE UNITED STATES,                    *       Post-Award Protest;
                                       *       Small Business Set Aside,
       Defendant.                      *          13 C.F.R. § 121.1007;
                                       *       Standing;
                                       *       Time Charter Contract;
                                       *       10 U.S.C. § 6011;
                                       *       32 C.F.R. § 700.204(c);
                                       *       48 C.F.R. § 9.104-1;
                                       *       Fed. R. Ev. 901;
                                       *       RCFC 52.1.
 *************************************

 Timothy B. Shea, Nemirow, Hu & Shea, Washington, D.C., for plaintiff.

 Christopher Lonnie Krafchek, United States Department of Justice, for defendant.

                     MEMORANDUM OPINION AND FINAL ORDER

 BRADEN, Judge.



       *
        On July 8, 2008, a pre-publication draft of this Memorandum Opinion and Order was
provided to the parties under seal, with instructions to propose any redactions on or before July 10,
2008. On July 10, 2008, Sealift and the Government submitted proposed redactions.
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        This pre-award and post-award bid protest concerns allegations that the Military Sealift
Command unlawfully awarded a time charter contract despite a material misrepresentation,
violations of subcontracting limitations, and waivers of reflagging, security clearance, and alien
crew member requirements.

        To facilitate review of this Memorandum Opinion and Final Order, the court has provided
the following outline:

I.     FACTUAL BACKGROUND.

       A.      The Solicitation And Award.

       B.      Protest At The Government Accountability Office.

II.    PROCEDURAL HISTORY.

III.   DISCUSSION.

       A.      Jurisdiction.

       B.      Standing.

       C.      The Relevant Standards For Decision On The Administrative Record In A
               Bid Protest Case.

       D.      The Parties’ Cross-Motions For Judgment On The Administrative Record.

               1.      Pre-Award Misrepresentation Regarding The Bonito’s Fuel
                       Consumption.

                       a.      The Parties’ Arguments.

                       b.      The Court’s Resolution.

               2.      Pre-Award Violation of The Competition In Contracting Act Of 1984.

                       a.      The Parties’ Arguments.

                       b.      The Court’s Resolution.

               3.      Post-Award Violations Of The Competition In Contracting Act Of
                       1984.


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                 a.    Prohibited Reflagging Work.

                       i.    The Parties’ Arguments.

                       ii.   The Court’s Resolution.

                 b.    Failure To Timely Obtain Proper Facilities Clearance.

                       i.    The Parties’ Arguments.

                       ii.   The Court’s Resolution.

                 c.    Transatlantic Lines, Ltd.’s Use Of Alien Crew Members.

                       i.    The Parties’ Arguments.

                       ii.   The Court’s Resolution.

                 d.    Military Sealift Command’s Waiver Of The Delivery Date.

                       i.    The Parties’ Arguments.

                       ii.   The Court’s Resolution.

                 e.    Change In Vetting Requirements.

                       i.    The Parties’ Arguments.

                       ii.   The Court’s Resolution.

IV.   CONCLUSION.

                                   * * *




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 I.        FACTUAL BACKGROUND.1

           A.    The Solicitation And Award.

         Military Sealift Command (“MSC”) is an operating unit of the Department of the Navy
 (“Navy”). See 10 U.S.C. § 6011; see also 32 C.F.R. § 700.204(c) (“The operating forces of the
 Navy and the Marine Corps comprise the several fleets, seagoing forces, Fleet Marine Forces,
 other assigned Marine Corps Forces, the Military Sealift Command and other forces and activities
 that may be assigned thereto by the President or the Secretary of the Navy.”). MSC is responsible
 for the acquisition of vessels and other maritime assets for the use and support of the Navy and
 other military departments. See Military Sealift Command, www.msc.navy.mil (“MSC’s mission
 is to support our nation by delivering supplies and conducting specialized missions across the
 world’s oceans.”).

         On March 31, 2006, the Navy issued Solicitation Number N00033-06-R-5409 (“the
 March 31, 2006 Solicitation”) to procure a tank vessel for operations in the Pacific under a “time
 charter” contract,2 to begin in October 2006 for a base period of one year, with three one-year
 option periods and an additional eleven-month option period. See AR 1481-82, 1486. The March
 31, 2006 Solicitation stated that the fixed price contract would be awarded as a 100% small
 business set aside, to an offeror that submitted the lowest priced, technically acceptable proposal.
 See AR 1481-82, 1572. In addition, each offer was required to include information about the
 proposed vessel, including: the size; draft; pumping capacity; configuration; and to warrant speed
 and fuel consumption, because fuel costs would be included in the contract. See AR 1486-1504.
 In the event of a breach of the speed and fuel warranty, the March 31, 2006 Solicitation allowed
 the Navy to: reduce payment by the overcharge; terminate the charter; or place the charter




       1
         The facts recited herein were derived from: the October 19, 2007 Administrative Record
and Supplements thereto (“AR 1-3091”); Plaintiff’s February 12, 2008 Statement Of Facts (“Pl.
PF”); and the Government’s March 24, 2008 Cross-Motion For Judgment Upon The Administrative
Record And Opposition To Plaintiff’s Motion For Judgment Upon The Administrative Record,
including a Statement Of Facts (“Gov’t Op. and Resp.”).
       2
          A “time charter contract” is defined as one where “a vessel is let to a charterer for a
stipulated period of time or voyage, for a remuneration known as hire, generally a daily rate per ton
deadweight. The shipowner continues to manage the vessel through the master and crew who remain
his servants.” See MACANDREWS SHIPPING DICTIONARY , available at http://www.macandrews.
net/resources/dicts.html.

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 off-hire.3 See AR 1504. The March 31, 2006 Solicitation also included a limitation on
 subcontracting. See AR 1535.

         On April 19, 2006, Sealift, Inc. (“Sealift”)4 submitted an offer in response to the March
 31, 2006 Solicitation for the vessel Montauk, a United States flag ship built in 1999. See AR
 1597, 1612. Sealift warranted that the Montauk’s fuel consumption rate was 67 barrels per day,
 at an average speed of 12 knots. See AR 1617. Sealift also warranted a fuel consumption rate
 of 4.0 barrels per day when the ship was idle in port, and a rate of 7.5 barrels per day, when the
 vessel was discharging in port. Id. The engines and auxiliaries of the Montauk used 180 grade
 fuel at $55.32 per barrel. Id.; see also AR 1985. Based upon Sealift’s warranted fuel
 consumption rate and average speed, MSC estimated that the total bunker costs for the Montauk,
 based on a 1,796 day pricing scenario, would be $4,227,081.05. See AR 1992. Sealift’s final
 proposed price for the Montauk, without fuel costs, was $25,591,140.00. Id. Sealift’s final “total
 estimated price[,] including fuel,” was $29,818,221.05. Id.

         Transatlantic Lines, Ltd. (“TAL”) submitted two separate proposals in response to the
 March 31, 2006 Solicitation: one for the Bonito; and one for the Emre-T.5 See AR 1808 (TAL
 Bonito Proposal); AR 1687 (TAL Emre-T Proposal). The Bonito was a Swedish flag ship, built
 in April 2001. See AR 1860. TAL warranted that the Bonito’s fuel consumption rate was
 [redacted] barrels per day, at an average speed of 12 knots. See AR 1865. TAL warranted a fuel
 consumption rate of [redacted] barrels per day, when the ship was idle in port, and a rate of
 [redacted] barrels per day, when the vessel was discharging in port. See AR 1865, 2050. The
 engines and auxiliaries of the Bonito used 380 grade fuel at $53.41 per barrel. See AR 2050.
 Based upon TAL’s warranted fuel consumption rate and average speed, MSC estimated that the
 total bunker costs for the Bonito, based on a 1,796 day pricing scenario, would be [redacted]. See
 AR 1985, 2050. TAL’s final “total estimated price[,] including fuel,” was $29,068,713.74. See
 AR 1992.



       3
          “Off-hire” is defined as “a period which a vessel is temporarily incapable of trading due to
drydocking, maintenance, repair or breakdown.” See MARISAFE BOATING DICTIONARY , available
at http://www.marisafe.com/resources/boatdictionary.asp.
       4
         Sealift is a closely-held company, incorporated in New York, and owned by John Raggio,
Ragnar Knutsen, Alan Alder, and Fred Isaksen. See AR 3050 ¶ 1 (June 12, 2008 Supplemental
Declaration of John Raggio); see also Sealift’s website, www.sealiftinc.org. Mr. Raggio is Sealift’s
Vice President. Id. Sealift “operates a fleet of twelve U.S. Flag, ocean-going ships; most of these
vessels operate in [Sealift’s] U.S. Flag Liner Service to world wide destinations.” Sealift’s website,
www.sealiftinc.org. Sealift also is classified as a small business, pursuant to the Small Business
Administration regulations. See AR 3050 ¶ 1; see also 13 C.F.R. § 121.
       5
           On May 22, 2006, TAL withdrew the proposal for the Emre-T. See AR 1928.

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          TAL also informed MSC that it would utilize the services of a crewing agent “to find crew
 for [its] vessel.” AR 2027. TAL’s crew proposal was for: “Captains and Engineers within [the]
 company that have tanker experience” and “two licensed engineers, as [TAL’s] in-house technical
 managers that are qualified to operate the engine room of the tanker.” AR 1921.

        On May 17, 2006, the contracting officer (“CO”) determined that both Sealift and TAL’s
 proposals were within the competitive range and discussions commenced with each company.
 See AR 2010, 2037, 2047. On June 7, 2006, the Tanker Project Officer found that both the Sealift
 and TAL proposals technically were acceptable. See AR 2052, 2056. In addition, both price
 proposals were found to be “fair and reasonable.” See AR 2168-69. The CO, however,
 recommended that the contract be awarded to TAL, because it had the lowest price. Id.

         On June 27, 2006, the CO notified TAL that it was the successful offeror, but that other
 offerors had until July 5, 2006 to challenge TAL’s small business status. See AR 2173. On July
 7, 2006, the United States Small Business Administration (“SBA”) notified TAL that Sealift
 challenged TAL’s small business status. See AR 2235. On July 14, 2006, however, the SBA
 dismissed Sealift’s protest for failure to provide specific information challenging TAL’s
 qualifications.6 See AR 2238.

         On July 21, 2006, MSC awarded the contract to TAL and provided notice of the award
 to Sealift. See AR 2185, 2224. On July 31, 2006, a debriefing took place, at Sealift’s request.
 See AR 2225-27.




       6
           Federal Acquisition Regulation (“FAR”) 121.1007 states:

       (a) Particular procurement. A protest challenging the size of a concern which does
       not pertain to a particular procurement or sale will not be acted on by SBA.

       (b) A protest must include specific facts. A protest must be sufficiently specific to
       provide reasonable notice as to the grounds upon which the protested concern's size
       is questioned. Some basis for the belief or allegation stated in the protest must be
       given. A protest merely alleging that the protested concern is not small or is affiliated
       with unnamed other concerns does not specify adequate grounds for the protest. No
       particular form is prescribed for a protest. Where materials supporting the protest are
       available, they should be submitted with the protest.

       (c) Non-specific protests will be dismissed. Protests which do not contain sufficient
       specificity will be dismissed by SBA.

13 C.F.R. § 121.1007.

                                                  6
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       Prior to delivering the vessel, TAL changed the vessel’s name from Bonito to
 Transpacific. See AR 2672-73; see also Pl. PF ¶ 27.

           B.     Protest At The Government Accountability Office.

         On August 7, 2006, Sealift filed a bid protest with the Government Accountability Office
 (“GAO”), contesting the award to TAL. See AR 2247. On August 8, 2006, MSC decided not to
 suspend performance during the protest.7 See AR 2382. At the GAO, Sealift argued that: TAL
 misrepresented the Bonito’s fuel consumption rate and crewing requirements; TAL was not a
 “responsible offeror;” and Sealift was prejudiced by MSC’s improper disclosure to TAL of
 Sealift’s offer in a prior 2005 Solicitation.8 See AR 2254-63; see also 48 C.F.R. § 9.104-1
 (responsible offeror).



       7
           The Competition in Contracting Act of 1984 states:

       If the Federal agency awarding the contract receives notice of a protest . . . the
       contracting officer shall immediately direct the contractor to cease performance under
       the contract and to suspend any related activities that may result in additional
       obligations being incurred by the United States under that contract.

31 U.S.C. § 3553(d)(3)(A).

        This Section, however, only applies if the agency receives a notice of protest within 10 days
after award or 5 days after a required debriefing. See 31 U.S.C. § 3553(d)(4).
       8
          On February 17, 2005, MSC issued Solicitation N000-33-05-R-5400 (“2005 Solicitation”)
to procure a tank vessel for operations in the Pacific under a different time charter contract. See AR
422. TAL submitted an offer for the vessel Mercury and Sealift submitted an offer for the Montauk.
See AR 551 (TAL); see also AR 654 (Sealift); AR 649, 748 (other offers). MSC awarded the
contract to Sealift. See AR 1075.
        On June 2, 2005, TAL filed a GAO bid protest, and on June 6, 2005, MSC issued a stop work
order to Sealift. See AR 546, 1250. On July 7, 2005, MSC issued a letter reopening the 2005
Solicitation to allow offerors to submit revised proposals in accordance with an amendment
concerning the “equation for calculating fuel costs.” See AR 546, 1288. During this protest, MSC
disclosed the evaluation of Sealift’s Montauk offer to TAL, including Sealift financial data. See AR
1273, 1292. To rectify this error, MSC provided Sealift with the Mercury’s offered charter hire
rates, evaluated fuel costs, and evaluated fuel consumption data. See AR 1234, 1290. Sealift argued
that this was not sufficient, because TAL planned to offer a vessel other than the Mercury for the
next solicitation. See AR 1167. Sealift, however, did not pursue any legal action regarding MSC’s
improper disclosure of confidential information to TAL. See 6/9/08 TR 8. TAL was unable to
supply the offered vessel and Sealift was awarded the contract in late 2005. See Pl. Mem. at 14 n.2.

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       On October 13, 2006, the GAO denied Sealift’s protest, concluding that the “accuracy of
TAL’s warranties is irrelevant,” because a “below-cost bid or offer is permissible in a fixed-price
environment, since contract payment will be based on the offered price, [that] is not subject to
adjustment during performance barring unforeseen circumstances.” See Sealift, Inc., B-298588,
Oct. 13, 2006 (AR 2536-38) (citing GTSI Corp., B-286979, Mar. 22, 2001, 2001 CPD ¶ 55 at 4
(“[T]he submission of a below-cost or a low-profit offer is not illegal and provides no basis for
challenging an award of a firm, fixed-rate contract to a responsible contractor, since fixed-rate
contracts are not subject to adjustment during performance, barring unforeseen circumstances.”)).
The GAO also determined that, since the March 31, 2006 Solicitation only “requires the owner
to provide the crew list no later than 96 hours prior to the time the ship is to be delivered,” the
crewing requirements were a matter of contract administration. Id. (AR 2538) (citing Fritz Cos.,
Inc., B-246736, May 13, 1992, 92-1 CPD ¶ 443 at 5 (“Whether [a contractor] and its
subcontractor actually comply with [the] performance requirement is a matter of contract
administration for consideration by the procuring agency, not by [the GAO].”)). In addition, the
GAO decided that Sealift’s challenge to TAL’s subcontracting activity was untimely. Id. (AR
2537-38). The GAO did not address Sealift’s other arguments. Id. (AR 2536-38).

II.    PROCEDURAL HISTORY.

        On December 12, 2006, Sealift filed a Complaint in the United States District Court for
the District of Columbia to challenge the MSC’s June 27, 2006 award of the March 31, 2006
Solicitation to TAL. On February 16, 2007, the Government filed a Motion To Transfer To The
United States Court Of Federal Claims. On May 23, 2007, the United States District Court for
the District of Columbia granted the Government’s Motion and the case was transferred to the
United States Court of Federal Claims on July 18, 2007. On August 23, 2007, the case was
assigned to the undersigned judge.

        On August 30, 2007, Sealift filed an Amended Complaint (“Amend. Compl.”), alleging:
1.) “The source selection decision based on false information in TAL’s offer violated the
Competition in Contracting Act and [the FAR];” 2.) TAL’s vessel was ineligible for award under
the [March 31, 2006] [S]olicitation, because reflagging and repairs were performed outside the
United States; and 3.) the contracting officer “materially altered the material terms of the
[S]olicitation in favor of TAL.” Amend. Compl. ¶¶ 38-49.

        On September 10, 2007, the court convened a telephone conference with the parties and
issued a Scheduling Order. On October 1, 2007, the Government filed an Unopposed Motion For
A Protective Order. On October 3, 2007, the court granted the Government’s October 1, 2007
Motion and entered a Protective Order. On October 15, 2007, the parties filed a Joint Status
Report. On October 16, 2007, the court convened a telephone conference regarding the
submission of the Administrative Record. On October 19, 2007, the Government filed the
Administrative Record.



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         On November 1, 2007, Sealift filed a Motion To Supplement The Administrative Record.
 On December 14, 2007, the Government filed a Response. On December 27, 2007, Sealift filed
 a Reply. On January 17, 2008, the court convened a hearing regarding the Plaintiff’s Motion To
 Supplement The Administrative Record. See 11/17/08 TR 1-51. On January 23, 2008, the court
 granted Sealift’s Motion To Supplement The Administrative Record. On January 30, 2008, the
 Government filed the Supplemental Administrative Record. See AR 2536-3046. On February 7,
 2008, the court convened a telephone conference regarding releasing certain documents to Sealift,
 subject to the October 3, 2007 Protective Order, and Sealift withdrew the request.

         On February 12, 2008, Sealift filed a Motion For Judgment On The Administrative
 Record (“Pl. Mot.”), together with a Memorandum In Support (“Pl. Mem.”) and Proposed
 Findings Of Fact. On March 24, 2008, the Government filed a Cross-Motion For Judgment On
 The Administrative Record And Response To Plaintiff’s Motion For Judgment On The
 Administrative Record. On April 8, 2008, Sealift filed a Reply (“Pl. Reply”). On April 22, 2008,
 the Government filed a Reply To Plaintiff’s Response To The Government’s Cross-Motion For
 Judgment On The Administrative Record (“Gov’t Reply”). On June 9, 2008, an oral argument
 was convened at which the court requested that the Administrative Record be supplemented, if
 the requested information was available. See 6/9/08 TR 119-22. On June 12, 2008, Sealift filed
 an Unopposed Motion To Supplement The Administrative Record with the June 12, 20089
 Declaration Of John Raggio.10 On June 16, 2008, the court granted Sealift’s Motion To
 Supplement The Administrative Record. See AR 3050-52. On June 19, 2008, the Government




        9
            Mr. Raggio’s Declaration is not dated. See AR 3050-52.
        10
           Mr. Raggio advises the court, in the June 12, 2008 Supplemental Declaration that the
Montauk was “the foundation of [the] company” and “a very important revenue base . . . for carrying
Sealift’s overhead.” See AR 3050-51. The Montauk’s failure to obtain the March 31, 2006 contract
has caused Sealift the loss of: “(i) the opportunity to derive income from the tanker service itself; (ii)
[] the substantial market appreciation of the Montauk that has taken place in the tanker market over
the time since [Sealift] sold the vessel; and (iii) [] some of the in-house expertise Sealift had to
operate tankers and, thus, limiting [Sealift’s] ability to get back into the tanker business again.” AR
3051.

                                                    9
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 filed a Notice Of Filing to comply with the court’s request at the June 9, 2008 hearing.11 See AR
 3053-91.

 III.        DISCUSSION.

             A.    Jurisdiction.

         The Tucker Act, as amended by the Administrative Dispute Resolution Act of 1996, Pub.
 L. No. 104-320, §§ 12(a), (b), 110 Stat. 3870 (1996) (“ADRA”), authorizes the United States
 Court of Federal Claims to “render judgment on an action by an interested party objecting to a
 solicitation by a Federal agency for bids or proposals for a proposed contract or to a proposed
 award or the award of a contract or any alleged violation of statute or regulation in connection
 with a procurement or a proposed procurement.” 28 U.S.C. § 1491(b)(1); see also
 Banknote Corp. of Am., Inc. v. United States, 365 F.3d 1345, 1350 (Fed. Cir. 2004) (“The [United
 States] Court of Federal Claims has jurisdiction to review both pre-award and post-award bid
 protests pursuant to 28 U.S.C. § 1491(b), enacted as part of the Administrative Dispute
 Resolution Act of 1996[.]”).

         The Amended Complaint alleges that, prior to the award, TAL made a material
 misrepresentation to MSC and that MSC acted contrary to law, by awarding the contract to TAL
 without verifying compliance with the limitation on subcontracting. See Amend. Compl. at 1.
 The Amended Complaint also alleges that MSC materially altered the March 31, 2006
 Solicitation after the July 21, 2006 award, in violation of 41 U.S.C. § 253(a)(1)(A) (Competition
 in Contracting Act, Pub. L. No. 98-369, 98 Stat. 494 (1984) (“CICA”) (codified as amended in
 scattered sections of 10, 31, and 41 U.S.C.)). See Amend. Compl. at 1; see also HDM Corp. v.
 United States, 69 Fed. Cl. 243, 254 (2005) (“In determining whether a modification falls within

        11
             The Government summarized the court’s order as requesting:

        1.        The written agreement between [TAL] and its manning company/agency,
                  Vessel Management Services (“VMS”) should one exist;
        2.        Any and all invoices that were not included in the [A]dministrative [R]ecord
                  depicting work performed on its proposed tanker, the TransAtlantic, in Guam
                  or Singapore; and
        3.        Non-redacted copies of the invoices that were included in the
                  [A]dministrative [R]ecord at pages 2780-2820.

Gov’t Notice of Filing at 1; see also 6/9/08 TR 119-22. Although the Government objected, the
Government provided: 1.) a representation that no written employment agreement exists between
the crewing agent and TAL; 2.) a representation that all invoices are in the Administrative Record;
and 3.) non-redacted and clearer copies of the invoices in the Administrative Record. See Gov’t
Notice of Filing at 1-2; see also AR 3053-91.

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 CICA’s competition requirement, the Court examines whether the contract as modified is
 materially different from the original contract[.]”).

          For these reasons, the court has determined that the allegations in the Amended Complaint
 recite a sufficient basis to exercise jurisdiction, pursuant to 28 U.S.C. § 1491(b)(1). See Amend.
 Compl. ¶¶ 38-49.

            B.    Standing.

         As a threshold matter, a protester must establish that it is an “interested party.” 28
 U.S.C. § 1491(b)(1). The United States Court of Appeals for the Federal Circuit has construed
 the term “interested party,” as synonymous with “interested party,” as defined by the CICA, 31
 U.S.C. § 3551 (Definitions).12 See Rex Serv. Corp. v. United States, 448 F.3d 1305, 1307 (Fed.
 Cir. 2006) (“[T]he term ‘interested party’ in section 1491(b)(1) is construed in accordance with
 the Competition in Contracting Act [], 31 U.S.C. §§ 3551-56.”) (citations omitted); see also
 Banknote Corp., 365 F.3d at 1352 (holding that the United States Court of Federal Claims’
 jurisdiction under the Tucker Act, as amended, is limited to “actual or prospective bidders or
 offerors whose direct economic interest would be affected by the award of the contract or by
 failure to award the contract.” (quoting 31 U.S.C. § 3551)). Accordingly, the trial court must


       12
            (2) The term “interested party”—

                 (A) with respect to a contract or a solicitation or other request for offers
                 described in paragraph (1), means an actual or prospective bidder or offeror
                 whose direct economic interest would be affected by the award of the contract
                 or by failure to award the contract; and
                 (B) with respect to a public-private competition conducted under Office of
                 Management and Budget Circular A-76 with respect to the performance of
                 an activity or function of a Federal agency, or a decision to convert a function
                 performed by Federal employees to private sector performance without a
                 competition under Office of Management and Budget Circular A-76,
                 includes--
                         (i) any official who submitted the agency tender in such competition;
                         and
                         (ii) any one individual who, for the purpose of representing the
                         Federal employees engaged in the performance of the activity or
                         function for which the public-private competition is conducted in a
                         protest under this subchapter that relates to such public-private
                         competition, has been designated as the agent of the Federal
                         employees by a majority of such employees.

31 U.S.C. § 3551(2).

                                                   11
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apply a two-part test to determine whether a protester is an “interested party,” i.e., the protestor
must show that it was an actual or prospective bidder and the protester must have a direct
economic interest in the procurement. See Rex Serv. Corp., 448 F.3d at 1307 (“[T]o come within
the [United States] Court of Federal Claims’ section 1491(b)(1) bid protest jurisdiction, [the
protester] is required to establish that it (1) is an actual or prospective bidder, and (2) possesses
the requisite direct economic interest.” (citations omitted)).

        As part of the “direct economic interest” requirement, a protestor must show that any
alleged errors caused the protestor “prejudice.” See Galen Med. Assocs. v. United States, 369
F.3d 1324, 1330 (Fed. Cir. 2004) (“‘[T]o prevail in a protest the protestor must show not only a
significant error in the procurement process, but also that the error prejudiced it.’” (quoting Data
Gen. Corp. v. Johnson, 78 F.3d 1556, 1562 (Fed. Cir. 1996) (alterations in original))); see also
Myers Investigative & Sec. Servs., Inc. v. United States, 275 F.3d 1366, 1370 (Fed. Cir. 2002)
(“[P]rejudice (or injury) is a necessary element of standing.”). The United States Court of
Appeals for the Federal Circuit has advised trial courts that, “because the question of prejudice
goes directly to the question of standing, the prejudice issue must be reached before addressing
the merits.” Info. Tech. & Applications Corp. v. United States, 316 F.3d 1312, 1319 (Fed. Cir.
2003) (emphasis added); see also Myers, 275 F.3d at 1369 (“standing is a threshold jurisdictional
issue.” (citations omitted)).

        The United States Court of Appeals for the Federal Circuit has held that a protestor can
establish prejudice by showing a “substantial chance” that it would have received the award, if
the alleged error was corrected. See Bannum, Inc. v. United States, 404 F.3d 1346, 1358 (Fed.
Cir. 2005) (“To establish prejudice [plaintiff] must show that there was a ‘substantial chance’ it
would have received the contract award but for . . . errors” in the bid process.) (citations omitted);
see also Statistica, Inc. v. Christopher, 102 F.3d 1577, 1581 (Fed. Cir. 1996) (“To establish
competitive prejudice, a protestor must demonstrate that but for the alleged error, there was a
‘substantial chance’ that [it] would receive an award-that was within the zone of active
consideration.” (citations omitted) (emphasis and alterations in the original)).

        The court has determined that Sealift has established that it is an “interested party,” as an
actual protestor with a direct economic interest in the July 21, 2006 contract. In addition, having
submitted a “technically acceptable” proposal with a price that was “fair and reasonable,” Sealift
had a substantial chance of being awarded the contract, but for the alleged errors. See Amend.
Compl. ¶¶ 1-23.

        C.      The Relevant Standards For Decision On The Administrative Record In A
                Bid Protest Case.

       Pursuant to the Tucker Act, as amended by the ADRA, the United States Court of Federal
Claims reviews challenges to agency decisions, pursuant to the Administrative Procedure Act,
5 U.S.C. § 706. See 28 U.S.C. § 1491(b)(4) (“In any action under this subsection, the courts shall


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review the agency’s decision pursuant to the standards set forth in section 706 of title 5.”); see
also 5 U.S.C. § 706(2)(A) (“[T]he reviewing court shall . . . hold unlawful and set aside agency
action, findings, and conclusions found to be . . . arbitrary, capricious, an abuse of discretion, or
otherwise not in accordance with law[.]”).

        Accordingly, the United States Court of Appeals for the Federal Circuit has held that “a
bid award may be set aside if either (1) the procurement official’s decision lacked a rational basis;
or (2) the procurement procedure involved a violation of regulation or procedure.” Galen Med.
Assocs., 369 F.3d at 1329 (internal citations omitted) (emphasis added); see also Bannum, 404
F.3d at 1351 (holding that a trial court initially must determine if the Government “acted without
rational basis or contrary to law when evaluating the bids and awarding the contract.”); Banknote
Corp., 365 F.3d at 1350 (“Among the various APA standards of review in section 706, the proper
standard to be applied in bid protest cases is provided by 5 U.S.C. § 706(2)(A): a reviewing court
shall set aside the agency action if it is ‘arbitrary, capricious, an abuse of discretion, or otherwise
not in accordance with law.’” (citation omitted)).

        The protester, however, bears a “heavy burden” of showing that an award decision had
no rational basis. See Impresa Construzioni Geom. Domenico Garufi v. United States, 238 F.3d
1324, 1332-33 (Fed. Cir. 2001). Therefore, when the court finds a “reasonable basis” for an
agency’s action, the court should “stay its hand even though it might, as an original proposition,
have reached a different conclusion as to the proper administration and application of the
procurement regulations.” Honeywell, Inc. v. United States, 870 F.2d 644, 648 (Fed. Cir. 1989)
(citation omitted). This standard requires that the final decision reached by an agency be the
result of a process that “consider[s] the relevant factors” and is “within the bounds of reasoned
decision making.” Baltimore Gas & Elec. Co. v. Natural Res. Def. Council, Inc., 462 U.S. 87,
105 (1983); see also Impresa, 238 F.3d at 1332-33 (“[T]he test for reviewing courts is to
determine whether the contracting agency provided a coherent and reasonable explanation of its
exercise of discretion, and the disappointed bidder bears a heavy burden of showing that the
award decision had no rational basis.” (citation & internal quotations omitted)).

        If the trial court determines that an agency’s decision fails an APA review, the court is
then obligated to inquire whether the protester was prejudiced by the Government’s conduct. See
Bannum, 404 F.3d at 1351 (“[I]f the trial court finds that the government's conduct fails the APA
review under 5 U.S.C. § 706(2)(A), then it proceeds to determine, as a factual matter, if the bid
protester was prejudiced by that conduct.”); see also Impresa, 238 F.3d at 1333 (“When a
challenge is brought on the second ground, the disappointed bidder must show ‘a clear and
prejudicial violation of applicable statutes or regulations.’” (citations omitted)). A claim on the
merits of a bid protest will only succeed if both requirements are satisfied. See Galen Med.
Assocs., 369 F.3d at 1330 (“‘[T]o prevail in a protest the protester must show not only a
significant error in the procurement process, but also that the error prejudiced it.’” (quoting Data
Gen. Corp., 78 F.3d at 1562) (alterations in original)). Prejudice, in this context, requires the
protestor to show that it had a “substantial chance” to receive the contract award, but for the


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Government’s error. See Bannum, 404 F.3d at 1358 (“To establish prejudice Bannum was
required to show that there was a ‘substantial chance’ it would have received the contract award
but for the . . . errors in the bid process.”); see also Metcalf Constr. Co. v. United States, 53 Fed.
Cl. 617, 622 (2002) (“[M]inor errors or irregularities, i.e., harmless errors, committed in the
course of the procurement process are not sufficient grounds to warrant judicial intrusion to upset
a procurement decision.” (citation omitted) (emphasis added)).

         Bid protest actions are considered upon cross-motions for judgment on the Administrative
Record, pursuant to Rule of the Court of Federal Claims (“RCFC”) 52.1. RCFC 52.1 does not
have a counterpart in the Federal Rules of Civil Procedure and “is similar but not identical to a
Motion for Summary Judgment, pursuant to RCFC 56.” Info. Scis. Corp. v. United States, 73
Fed. Cl. 70, 97-98 (2006) (citing Bannum, Inc. v. United States, 404 F.3d 1346, 1355 (Fed. Cir.
2005)). Under RCFC 52.1, the court is required to weigh the evidence when considering a
Motion for Judgment on the Administrative Record, because RCFC 52.1 is “designed to provide
for a trial on a paper record, allowing fact-finding by the trial court.” See Bannum, 404 F.3d at
1355-56.

        D.      The Parties’ Cross-Motions For Judgment On The Administrative Record.

                1.      Pre-Award Misrepresentation Regarding The Bonito’s Fuel
                        Consumption.

                                a.      The Parties’ Arguments.

        Count I of the August 20, 2007 Amended Complaint challenges MSC’s pre-award
decision, because TAL misrepresented the Bonito’s fuel consumption to MSC. See Pl. Mem. at
8; see also Amend. Compl. ¶¶ 38-41. Sealift argues that TAL’s warranted fuel consumption rate
of [redacted] barrels per day at an average speed of 12 knots was a material misrepresentation,
because the Bonito’s actual fuel consumption rate was 77.52 barrels per day. See AR 1865. In
support, Sealift’s Vice President submitted a Declaration, stating that:

        The Bonito has a nearly identical hull configuration, displacement and propeller
        arrangement as Sealift’s vessel Montauk. Both vessels have B&W Alpha engines
        with the Bonito’s 2720 KW being a little larger tha[n] the Montauk’s 1966 KW
        [engine]. The slightly larger engine on the Bonito should have a fuel consumption
        no less than that of the Montauk. Yet, according to the information from the CO
        at the debrief, [TAL] warranted its consumption at 19% less that of the
        Montauk. . . . In fact, [TAL] has materially understated the consumption rate of
        the Bonito. The current commercial managers of the Bonito, Nordtank Shipping
        A/S, who are identified as the vessel commercial managers by the vessel owners’
        website, have published vessel particulars on their website showing “Speed /
        Consumption: 12,0 kts /12 mts” for the Bonito. . . . Using the equivalencies in the


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            Solicitation, 12 measurement tons converts to 78.34[13] barrels per day using
            standard IFO 180 fuel.

 Declaration of John Raggio (“Raggio Declaration”) ¶¶ 4-5 (AR 2266).

         Sealift reported that TAL sent MSC a “Bonito’s Ship’s Particulars” form on October 27,
 2006, with the spaces for inputting the vessel’s daily consumption of fuel “blanked out in this
 otherwise complete record, suggesting an effort to avoid disclosure of [the previous owner’s]
 consumption rate to MSC.” Pl. Mem. at 15; see also AR 2956-57. In fact, TAL was aware that
 the Bonito’s fuel consumption rate was lower than that of the Montauk, because MSC
 inadvertently released the Montauk’s vessel information to TAL in June 2005 during the 2005
 Solicitation. See Pl. Mem. at 14; see also supra note 8.

          The Government responds that the Bonito had a better fuel consumption rate than the
 Montauk, because the Bonito “was a more modern vessel, whose powerful engine burned with
 greater efficiency.” Gov’t Op. and Resp. at 23 (citing AR 2466, 2476-77, 2481). Significantly,
 the Montauk burns 188 grams of fuel per kilowatt hour14 (“KWH”) under a 100 percent load and
 187 grams of fuel per KWH under an 85 percent load, while the Bonito only burns 182 grams of
 fuel per KWH under a 100 percent load and 180 grams of fuel under an 85 percent load. See
 Gov’t Op. and Resp. at 24 (citing AR 2466, 2476-81); AR 1612 (Sealift Proposal); AR 1860
 (TAL Proposal)). In addition, the Government asserts that the Raggio Declaration is not reliable,
 because it relies on a single data point from the unconfirmed website of the previous owner,
 Nordtank. See Gov’t Op. and Resp. at 25 (citing AR 2301-07) (Nordtank’s website does not
 “warrant or guarantee the accuracy of the fuel consumption rates listed on its website, and
 Nordtank may have its own policy or legal reasons for overestimating the vessel’s consumption
 rate.”).

        Sealift counters that Nordtank’s website is “inherently reliable, because it is the
 information provided by the owners for the use of charterers in the marketplace in the ordinary
 course of business at the very same time that the vessel was offered to MSC.” Pl. Reply at 4. In
 addition, the other details provided to MSC in the “Bonito’s Ship’s Particulars” match the


       13
           Sealift acknowledged a conversion error in the Raggio Declaration and corrected the record
to reflect the Bonito’s fuel consumption rate as 77.52 barrels per day of IFO 380 fuel. See Pl. Reply
at 4 n.1.
       14
          The unit “gram per KWH” is a measure of specific fuel consumption, which is defined as
“the weight flow rate of fuel required to produce a unit of power as thrust[.]” MCGRAW -HILL
DICTIONARY OF SCIENTIFIC AND TECHNICAL TERMS (6th ed. 2002). The use of “gram” is appropriate
“because the chemical energy in the fuel is a function of the mass of fuel. A gallon of fuel expands
or contracts with temperature. Therefore, a gallon of cold fuel contains more energy than a gallon
of warm fuel.” http://selair.selkirk.bc.ca/aerodynamics1/Performance/Page4.html.

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information on Nordtank’s website. Id. at 4 n.2 (citing AR 2536). In fact, Sealift contends that
posting information on Nordtank’s website creates a warranty. Id. at 5 (citing Transatlantic
Lines, LLC v. Tidewater Marine, Inc., Soc’y of Mar. Arb., No. 3834 (Nov. 4, 1998)); see also
Denholm Shipping Co. v. W.E. Hedger, Co., 47 F. 2d 213, 214-15 (2d Cir. 1931); The Atlanta,
82 F. Supp. 218, 230 (D. Ga. 1948).

        The Government replies that the Administrative Record demonstrates that the Bonito’s
engine is larger, more powerful, and more fuel efficient than the Montauk’s engine. See Gov’t
Reply at 5 (citing AR 2466, 2476-77, 2481). Sealift’s unsupported conclusion that the Bonito’s
engine is larger than the Montauk’s engine and that it must consume more fuel is speculation and
cannot overcome the clear evidence to the contrary. See Gov’t Reply at 5. Moreover, Sealift
offers only unsupported theories as to why the fuel consumption rate posted on an unrelated third
party’s website must be accurate. Id. at 7. In fact, Nordtank may have overestimated fuel
consumption rates in order to avoid the risk that “unexpected fuel costs or consumption will run
over into the profits of the charter itself.” Id.

                                 b.   The Court’s Resolution.

       The United States Court of Appeals for the Federal Circuit held in Planning Research
Corp. v. United States, 971 F.2d 736 (Fed. Cir. 1992) that:

       [T]he submission of a misstatement . . . which materially influences consideration
       of a proposal should disqualify the proposal. The integrity of the system demands
       no less. Any further consideration of the proposal in these circumstances would
       provoke suspicion and mistrust and reduce confidence in the competitive
       procurement system.

Id. at 741 (citation omitted).

        Therefore, to establish a material misrepresentation, Sealift must demonstrate both that
TAL intentionally made a false statement and that MSC relied on that false statement in awarding
the contract to TAL. See Blue & Gold Fleet, LP v. United States, 70 Fed. Cl. 487, 495 (2006)
(“To establish a material misrepresentation, plaintiff must demonstrate that (1) [the awardee]
made a false statement; and (2) the [agency] relied on that false statement in selecting [the
awardee’s] proposal for the contract award. . . . To preserve the integrity of the solicitation
process when such a material misrepresentation influences the award of the proposal, the proposal
is disqualified from consideration.”) (citations omitted), aff’d, 492 F.3d 1308 (Fed. Cir. 2007);
see also Northrop Grumman Corp. v. United States, 50 Fed. Cl. 443, 468 (2001) (“[I]t is quite
common for proposals to fall short of their assertions; it is not something to be punished unless
the errors were willful and egregious.”). Intent may be established by circumstantial evidence.
See Planning Research Corp., 971 F.2d at 742 (“This court has held that intent frequently must



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 be proved by circumstantial evidence.”) (citing Klein v. Peterson, 866 F.2d 412, 415 (Fed. Cir.
 1989)).

            In awarding this contract, MSC advised that:

            It is useful to compare the offered rate to previous contract awards for comparable
            vessels under similar requirements. . . . Th[ese] comparisons provide support that
            the rates offered by [TAL] and Sealift under this procurement are both highly
            competitive and very reasonable.

 AR 1985.

            MSC’s price analysis also stated that:

            [T]he daily rate proposed by [TAL] is considered fair and reasonable based on
            price competition and comparison with previous competitively awarded prices for
            comparable vessels under similar requirements in accordance with FAR [] 15.404-
            1(b)(2)(i) and (ii)15 respectively.

 AR 1992.

       Sealift’s primary evidence that TAL misrepresented the Bonito’s warranted fuel
 consumption is the Raggio Declaration that relies on a single data point found on a website. See


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            FAR 15.404-1(b) states:

       (b) Price analysis. (1) Price analysis is the process of examining and evaluating a
       proposed price without evaluating its separate cost elements and proposed profit.

       (2) The Government may use various price analysis techniques and procedures to
       ensure a fair and reasonable price. Examples of such techniques include, but are not
       limited to, the following:

       (i) Comparison of proposed prices received in response to the solicitation. Normally,
       adequate price competition establishes price reasonableness (see 15.403-1(c)(1)).

       (ii) Comparison of previously proposed prices and previous Government and
       commercial contract prices with current proposed prices for the same or similar
       items, if both the validity of the comparison and the reasonableness of the previous
       price(s) can be established.

48 C.F.R. § 15.404-1(b).

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 AR 2266. The Government, however, states that: “[t]o assess [TAL]’s compliance with its fuel
 warranties, it is necessary to gather information on the vessel’s speed, weather conditions, load,
 and fuel consumption for each voyage the vessel makes.” See AR 2513. Sealift agrees that
 “[g]auging actual fuel consumption requires some research, judgment, and initiative” in addition
 to “expert review of the varying factors that affect vessel operations.” Pl. Mem. at 16.

         The March 31, 2006 Solicitation provided that the “[c]ost of fuel consumed will be based
 on an operational scenario of 60% underway laden at 12 knots . . . , 28% in-port idle . . . , and
 12% in-port discharge[.]” AR 1572. The Raggio Declaration, however, only considered the
 Bonito’s fuel consumption “when steaming at 12 knots.” AR 2266 (Raggio Declaration ¶ 6).
 Moreover, it did not consider the March 31, 2006 Solicitation’s required “operational scenario.”
 See AR 1572. The Raggio Declaration also assumed that “[t]he slightly larger engine on the
 Bonito should have a fuel consumption no less than that of the Montauk.” See AR 2266 (Raggio
 Declaration ¶ 3) (emphasis added). Other evidence, however, indicates that the Montauk burned
 188 grams of fuel per KWH under a 100 percent load and 187 grams of fuel per KWH under an
 85 percent load, while the Bonito burned 182 grams of fuel per KWH, under a 100 percent load,
 and 180 grams of fuel under an 85 percent load. See AR 2266, 2476-77, 2481 (citing
 http://www.sea-web.com, an online service of LLOYD ’S LIST ).16 Sealift did not challenge this
 data.

         Nordtank does not guarantee or warrant the data on the website. See AR 2301-07. In
 addition, the cases cited by Sealift are not precedential and do not stand for the proposition that
 fuel consumption rates on a website are warranted. See Pl. Reply at 5. Instead, they hold that a
 representation of fuel consumption in a charter may create a warranty in certain circumstances.
 See Transatlantic Lines, LLC, Soc’y of Mar. Arb., No. 3834 (Nov. 4, 1998) (determining that
 “speed and fuel consumption capabilities” were incorporated into a contract through an annex);
 see also Denholm Shipping Co., 47 F.2d at 214-15 (“[A] description of a ship's capacity, in speed,
 as well as in any other respect, when inserted in the body of a charter, will support a suit for
 damages.”) (citation omitted) (emphasis added); The Atlanta, 82 F. Supp. at 230 (a statement as
 to speed and fuel consumption in a charter results in a warranty “rather than a representation,
 even though the statement is not expressly designated as a warranty”).

         Accordingly, the court has determined that the Bonito’s fuel consumption rate, posted on
 Nordtank’s website, does not evidence a material misrepresentation by TAL, particularly since
 Sealift has not proffered any independent evidence that the information on Nordtank’s website
 was reliable. See AR 2301-07. In addition, the Administrative Record contains no evidence that
 the Bonito did not achieve a consumption rate of [redacted] barrels per day, although the court


       16
          “LLOYD ’S LIST [is a company that] produces hundreds of supplements and special reports
every year targeted at specific markets in the maritime sector and related industries. It publishes the
industry’s first and best shipmanagement magazine, LSM and Maritime Asia, written and produced
in the local market.” See ABOUT LLOYD ’S LIST , www.lloydslist.com.

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 afforded Sealift the opportunity to supplement the Administrative Record with post-award
 information. See AR 2536-3047; see also 1/17/08 TR 38, 41-42.

         For these reasons, the court has determined that, as a matter of law, Sealift did not
 establish a false statement was made by TAL to the CO. See Blue & Gold Fleet, LP, 70 Fed. Cl.
 at 495.

                  2.     Pre-Award Violation Of The Competition In Contracting Act Of
                         1984.

                                a.     The Parties’ Arguments.

         The Amended Complaint alleges that the CO’s decision to award the contract to TAL
 violated the Competition in Contracting Act of 1984, 10 U.S.C. § 2305(b), because TAL “would
 not incur at least fifty percent of its labor costs on the contract from its own employees[,]” and
 the CO failed to verify that at least 50 percent of the cost of contract performance incurred for
 personnel would be expended for the contractor’s own personnel. See Amend. Compl. ¶ 46
 (“TAL’s declared intention in its offer to contract for the officers and crew on the vessel in
 violation of the Solicitation requirement was patently in contravention of [10 U.S.C. § 2305 and
 FAR 52.219-14(b)(1)].”);17 see also AR 1509 (“The Master, Officers, and crew of this Vessel
 shall be appointed or hired by the Owner and shall be deemed to be the servants and agents of the
 Owner at all times except as otherwise specified in this Charter.”); Pl. Mem. at 18-20 (citing
 Transatlantic Lines, LLC v. United States, 68 Fed. Cl. 48, 54 (2005) (requiring that an award be
 set-aside when “the contracting officer did not have a reasonable basis for determining that [the
 awardee] could meet the Limitation on Subcontracting clause[.]”)).

         TAL’s offer advised MSC that TAL intended to use a “manning company/agency” to hire
 and train the Bonito crew, other than for two members. See Pl. Mem at 19 (citing AR 1921).18


       17
            FAR 52.219-14(b)(1) provides that:

       (b) By submission of an offer and execution of a contract, the Offeror/Contractor
       agrees that in performance of the contract in the case of a contract for --
       (1) Services (except construction). At least 50 percent of the cost of contract
       performance incurred for personnel shall be expended for employees of the concern.

48 C.F.R. § 52.219-14(b)(1).
       18
         During the GAO protest, the Government denied that the March 31, 2006 Solicitation
contained a limitation on subcontracting; therefore, the CO would have no reason to investigate
TAL’s use of a crewing company. See Pl. Mem. at 19 (citing AR 2501). Subsequently, the
Government acknowledged that the Government’s representation to the GAO that the March 31,

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 Therefore, the Government contends that TAL’s offer complied with 10 U.S.C. § 2305(b),
 because although a crewing agency located personnel to crew the Bonito, those individuals were
 employed by TAL. See Gov’t Op. and Resp. at 29 (“TAL represented that it would use a crewing
 agent to ‘find crew for [its] vessel,’ similar to a headhunter or an employment agency.”) (quoting
 AR 1921). Therefore, the Government contends that “TAL’s offer did not propose to subcontract
 any of its personnel[.]” Id.19

         Sealift counters that TAL did not directly employ personnel from the crewing agent like
 a “headhunter,” so the “[h]iring and training of the crew by the crewing agent is precisely what
 the subcontracting limitation precludes.” Pl. Reply at 8-9 (citing AR 1940) (“Vessel Management
 has been crewing vessels for 12 years”); see also AR 2971 (Oct. 3, 2006 e-mail from the CO
 confirming that TAL is “using the management company and crew that will be employed under
 the contract”); AR 1880 (Jan. 12, 2006 statement from Insurance Underwriting Services, Inc.
 referring to “Vessel Management Services, Ltd. as crew managers”).

         The Government replies that TAL represented that all the crew would be directly
 employed by TAL and that Sealift has failed to demonstrate otherwise. See Gov’t Reply at 9
 (citing AR 2470-71 (“[I]f TAL hires a crewing agent, as Sealift alleges TAL may do, the agent
 by law is acting for TAL and the agent’s actions are those of the principal.”)). In addition, there
 appears to be no agreement between TAL and the crewing agent that would establish an
 employment relationship. See Gov’t Notice of Filing at 2 (“Based upon prior relationships, TAL
 did not have a written agreement with VMS to locate the crew for the TransAtlantic.”).

                                 b.      The Court’s Resolution.

         Section 2305(b)(1) of the CICA states that “[t]he head of an agency shall
 evaluate . . . competitive proposals and make an award based solely on the factors specified in
 the solicitation.” 10 U.S.C. § 2305(b)(1). The March 31, 2006 Solicitation states that the master,
 officers, and crew of the vessel be appointed or hired by the owner, and the crew “shall be
 deemed to be the servants and agents of the Owner at all times.” AR 1509. The FAR requires
 that: “[b]y submission of an offer and execution of a contract, the Offeror/Contractor agrees that
 in performance of the contract . . . at least 50 percent of the cost of contract performance incurred
 for personnel shall be expended for employees of the concern.” 48 C.F.R. § 52.219-14(b)(1). In
 addition, a contractor awarded a small business set-aside contract for services must show that at
 least 50 percent of the labor costs incurred will be performed by the company’s own employees.


2006 Solicitation contained a subcontracting limitation was incorrect. See Pl. Mem. at 19 (citing
1/17/08 TR 39-40).
       19
           Despite the Government’s initial misstatement to the GAO that the contract did not have
a limitation on subcontracting, the CO subsequently verified TAL’s compliance. See Gov’t Op. and
Resp. at 30 (citing AR 1940-41).

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See 48 C.F.R. § 19.508(e) (requiring that contracting officers include FAR 52.219-14, Limitations
on Subcontracting, “in solicitations and contracts for supplies, services and construction, if any
portion of the requirement is to be set aside for small business and the contract amount is
expected to exceed $100,000.”).

        Here, the issue is whether a “subcontractor” includes employees hired through an agent.
The FAR does not define “subcontractor.” See 48 C.F.R. § 2.101 (Definitions). The Small
Business Subcontracting Plan, however, defines a “subcontract” as “any agreement (other than
one involving an employer-employee relationship) entered into by a Federal Government prime
Contractor or subcontractor calling for supplies or services required for performance of the
contract or subcontract.” 48 C.F.R. § 252.219-7004(a) (emphasis added); see also BLACK’S LAW
DICTIONARY 1464 (8th ed. 2004) (defining a “subcontractor” as “[o]ne who is awarded a portion
of an existing contract by a contractor . . . . For example, a contractor who builds houses typically
retains subcontractors to perform specialty work such as installing plumbing, laying carpet,
making cabinetry, and landscaping”). Therefore, if an employer-employee relationship existed
between TAL and the Bonito’s crew, there was no violation of the Limitation on Subcontracting.
See 48 C.F.R. § 2.219-14(b).

        The FAR also does not define “employee” or “employer-employee” relationship. See 48
C.F.R. § 2.101 (Definitions). The Internal Revenue Service, however, uses the common law test
to determine if an employer-employee relationship exists. See 26 C.F.R. § 31.3121(d)-1(c)(1)
(“Every individual is an employee if under the usual common law rules the relationship between
him and the person for whom he performs services is the legal relationship of employer and
employee.”). An employer-employee relationship exists under the common law when:

        the person for whom services are performed has the right to control and direct the
        individual who performs the services, not only as to the result to be accomplished
        by the work but also as to the details and means by which that result is
        accomplished. . . . The right to discharge is also an important factor indicating that
        the person possessing that right is an employer. Other factors characteristic of an
        employer, but not necessarily present in every case, are the furnishing of tools and
        the furnishing of a place to work, to the individual who performs the services. In
        general, if an individual is subject to the control or direction of another merely as
        to the result to be accomplished by the work and not as to the means and methods
        for accomplishing the result, he is an independent contractor. An individual
        performing services as an independent contractor is not as to such services an
        employee under the usual common law rules.

26 C.F.R. § 31.3121(d)-1(c)(2); see also BLACK’S LAW DICTIONARY 564 (8th ed. 2004) (defining
“employee” as “A person who works in the service of another person (the employer) under an
express or implied contract of hire, under which the employer has the right to control the details
of work performance.”).


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         In this case, TAL’s crewing agency appeared to operate as a headhunter or an employment
 agency. See AR 1921; see also AR 1940-41. In either event, Sealift failed to establish that the
 crewing agent had the “right to control and direct” the Bonito’s crew. See 26 C.F.R. §
 31.3121(d)-1(c)(2). Instead, the record indicates that TAL controlled the members of the crew.
 See AR 1921 (“We utilize the services of a manning company . . . to find crew for our vessels.”)
 (emphasis added). The record also contains no evidence that the crewing agency had the “right
 to discharge” Bonito crew members after they were hired. See AR 1921; see also 26 C.F.R. §
 31.3121(d)-1(c)(2). In addition, TAL furnished the crew members with “tools” and “a place to
 work.” See AR 1921. Therefore, Sealift failed to establish that the crewing agent was “awarded
 a portion of an existing contract” by TAL. See BLACK’S LAW DICTIONARY 1464 (8th ed. 2004)
 (“Subcontractor”).

           For these reasons, the court has determined that TAL’s use of a crewing agent did not
 establish a subcontract relationship, and TAL’s proposal properly complied with the March 31,
 2006 Solicitation. See 48 C.F.R. § 252.219-7004(a) (defining a subcontract as “any agreement
 . . . other than one involving an employer-employee relationship”) (emphasis added); see also AR
 1860.

                  3.     Post-Award Violations Of The Competition In Contracting Act Of
                         1984.

                         a.      Prohibited Reflagging Work.

         The Bonito was a Swedish flag vessel. See AR 1860. The March 31, 2006 Solicitation
 required that an awardee with a foreign vessel must have the vessel reflagged as a United States
 vessel, in compliance with United States Coast Guard regulations. See AR 1493 (Solicitation I-
 8), 1860 (TAL Proposal), 2848-50 (Reflagging Analysis).20


       20
            The March 31, 2006 Solicitation required:

       [a]ny reflagging or repair work to (1) enable the vessel to meet applicable standards
       to become a vessel of the United States; or (2) to convert the vessel to a more military
       useful configuration must be performed in the United States.

AR 1493 (Solicitation at I-8) (incorporating Defense Federal Acquisition Regulation Supplement
(“DFARS”) 252.247-7025) (emphasis added).

       DFARS 252.247-7025 provides:

       (a) Definition. “Reflagging or repair work,” as used in this clause, means work
       performed on a vessel—

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                                 i.      The Parties’ Arguments.

        The Amended Complaint alleges that, after the contract was awarded to TAL, MSC
 unlawfully waived the March 31, 2006 Solicitation’s reflagging and repair work requirement. See
 Amend. Compl. ¶¶ 42-44; see also Pl. Mem. at 8, 25. Sealift argues that the reflagging
 requirement, governed by the terms of the Cargo Preference Act of 1904, as amended by 10
 U.S.C. § 2631(b),21 is material and may not be waived unless “the Secretary [of Defense]
 determines that [a] waiver is critical to the national security of the United States.” 10 U.S.C. §
 2631(b)(3); see also Pl. Mem. at 25.




               (1) To enable the vessel to meet applicable standards to become a vessel of
       the United States; or
               (2) To convert the vessel to a more useful military configuration.
       (b) Requirement. Unless the Secretary of Defense waives this requirement, reflagging
       or repair work shall be performed in the United States or its outlying areas, if the
       reflagging or repair work is performed —
               (1) On a vessel for which the Contractor submitted an offer in response to the
       solicitation for this contract; and
               (2) Prior to acceptance of the vessel by the Government.

48 C.F.R. § 252.247-7025.
       21
            The Cargo Preference Act of 1904, in relevant part, provides:

       (b) (1) In each request for proposals to enter into a time-charter contract for the use
       of a vessel for the transportation of supplies under this section, the Secretary of
       Defense shall require that any reflagging or repair work on a vessel for which a
       proposal is submitted in response to the request for proposals be performed in the
       United States (including any territory of the United States).
          (2) In paragraph (1), the term "reflagging or repair work" means work performed
       on a vessel —
            (A) to enable the vessel to meet applicable standards to become a vessel of the
       United States; or
            (B) to convert the vessel to a more useful military configuration.
         (3) The Secretary of Defense may waive the requirement described in paragraph (1)
       if the Secretary determines that such waiver is critical to the national security of the
       United States. The Secretary shall immediately notify the Congress of any such
       waiver and the reasons for such waiver.

10 U.S.C. § 2631(b).

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         In addition, the Amended Complaint alleges that on October 2, 2006, TAL violated 10
 U.S.C. § 2631(b), because the Bonito had various repairs performed at a shipyard in Singapore.
 See Amend. Compl. ¶ 26; see also Pl. Mem. at 5 (“The contracting officer had firm evidence that
 the vessel had had reflagging and repair work performed in Singapore.”). On October 11, 2006,
 Sealift sent an e-mail to MSC with photographs that show:

            bent, discarded small diameter CO2 piping on the deck of the Bonito which had
            been recently removed from the engine room; new galvanized distribution piping
            for CO2 next to a saw being fabricated on deck of the vessel; and new headers
            above the CO2 cylinders installed in the CO2 room of the vessel in Singapore; and
            workers painting the name TransPacific on the aft of vessel.

 Pl. Mem. at 22 (citing AR 2599-2603).

        In response, MSC required TAL to “explain, by 24 October 2006, the nature of the work
 performed in Singapore and how it complies with DFARS 252.247-7025, and the Contract.” Pl.
 Mem. at 22 (quoting AR 2610 (Oct. 20, 2006 letter from the CO to TAL)). On October 24, 2006,
 TAL responded that:

            All that occurred in Singapore was that a template was created to rename the
            vessel TRANSPACIFIC. Creating the template required the temporary removal
            of the name BONITO, which was repainted on to the vessel. The actual renaming
            of the vessel will be done in Guam, when the name TRANSPACIFIC will be
            painted onto the vessel. . . . The sole purpose for removing the piping again was
            to create a template for the fabrication of the new pipes. The piping has been
            procured and placed on deck for installation in Guam by the local shipyard,
            Casamar.

 AR 2615.

          Nevertheless, the Administrative Record includes two invoices from Singapore indicating
 that reflagging work took place. See AR 2782 (Oct. 2, 2006 Singapore Tax Invoice indicating
 a “[h]ydro test with Nitrogen to 600 psig”);22 AR 2785 (Oct. 2, 2006 Singapore Tax Invoice
 indicating workers “[i]nstalled new logos onto funnel by welding”). In addition, a “company
 specializing in conversion of fire systems to Coast Guard standards sent representatives to
 Singapore for 13 days and to Guam for the entire stay of the vessel.” Pl. Mem. at 24 (citing AR
 2814 (travel invoice from Fire Protection Systems, Inc. showing expenses for air fare, per diem,
 and rental cars)). The fact that these representatives were in Singapore shows that reflagging


       22
         “Pounds per square inch gauge” is defined as “The gauge pressure, measured by the
number of pounds-force exerted on an area of 1 square inch.” MCGRAW -HILL DICTIONARY OF
SCIENTIFIC AND TECHNICAL TERMS (6th ed. 2002).

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 work was completed there. Id. The Administrative Record also contains evidence that the Bonito
 had “main engine work” done in Singapore. See AR 2590.

         The Government responds that all of the Bonito’s required reflagging work was completed
 within the United States. See Gov’t Op. and Resp. at 34-38 (arguing that the work accomplished
 in Singapore does not constitute reflagging). Therefore, MSC “did not modify or waive any
 reflagging restrictions[.]” Id. at 34. Instead, after learning that the Bonito docked in Singapore,
 the CO contacted MSC representatives in Singapore and Guam, TAL, and the Coast Guard to
 determine if any improper reflagging work had been performed. See Gov’t Op. and Resp. at 34
 (citing AR 2589 (Oct. 3, 2006 e-mail from MSC’s Tanker Project Officer to Naval Sealift
 Logistics Command, requesting an “inquir[y] as to what work is being done there”); AR 2590-92
 (Oct. 3-12, 2006 e-mail string between various Naval personnel regarding the Bonito’s work in
 Singapore); AR 2609-10 (Oct. 20, 2006 letter from the CO to TAL regarding the work performed
 in Singapore); AR 2677 (Nov. 22, 2006 e-mail from Headquarters Legal to the CO stating that
 “nothing [Naval personnel] observed in Guam . . . would lead them to believe that any reflag
 work was completed in Singapore”) (internal quotations omitted)).

          MSC’s investigation showed that TAL purchased parts in Singapore for reflagging work
 that subsequently was done in Guam. See Gov’t Op. and Resp. at 34-35 (“The contract and
 applicable regulations only restrict the ‘work’ performed to reflag a vessel[;] it does not restrict
 where parts to reflag the vessel are purchased or manufactured.”) (citing AR 1493, 1542). TAL
 explained to MSC’s satisfaction that only “templates” for the TransPacific logo were made in
 Singapore, but it was installed in Guam. See Gov’t Op. and Resp. at 35 (citing AR 2615-16).
 The invoices from Guam support this conclusion. See AR 2782 (Oct. 2, 2006 Singapore Tax
 Invoice with heading: “[Manufacture] Parts for Fixed CO2 System”) (emphasis added); AR 2788-
 89 (Oct. 30, 2006 Guam Tax Invoice stating: “Installation of fixed CO2 systems in the engine
 machinery spaces, pump room and paint locker;” “Installed all new controls and pipings, tested
 to the satisfaction of USCG;” and “Installation of Offshore Piping System”). Other CO2 system
 reflagging work also was accomplished in Guam. See Gov’t Op. and Resp. at 37-38 (citing AR
 2823 (May 11, 2007 e-mail from TAL to MSC stating that the replacement of the pneumatic
 release valves, a timing delay cylinder, and CO2 cylinder headers were “done in Guam”); AR
 2823-31 (inspection reports evidencing that all reflagging work was accomplished in Guam)).
 Moreover, the Government contends that the photographs do not contradict TAL’s position that
 all the reflagging work took place in Guam.23 See Gov’t Op. and Resp. at 36-37 (“The piping
 depicted in the photographs may be the original piping which was temporarily removed. . . . the


       23
          The Government objects to the admission of the photographs, because “[n]o chain of
custody has been established for the photographs and no foundation has been presented.” Gov’t Op.
and Resp. at 36. Although the court allowed the photographs to be included in the Administrative
Record, since Sealift provided them to the MSC to initiate an investigation of alleged improper
reflagging, the court has not relied on these photographs, as they do not meet the requirements of
Fed. R. Ev. 901.

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administrative record contradicts Sealift’s assumption and contains an invoice from the shipyard
in Singapore reporting that ‘[a]ll piping was reinstalled in exact locations as original.’”) (citing
AR 2782). In addition, the “main engine work” performed in Singapore did not constitute
reflagging, because MSC knew about the work and if the work constituted reflagging, MSC
“would have thrown a red flag in to stop the procurement.” 6/9/08 TR 79.

         In the alternative, the Government argues that, even if reflagging work was done in
Singapore, the work at issue did not materially change the requirements of the Solicitation. See
Gov’t Op. and Resp. at 33-34 (“[E]ven if TAL’s vessel had a new name painted in Singapore, that
would not constitute reflagging work and would not violate the contract’s reflagging
restrictions.”). The Solicitation specifically requires reflagging or repair work to: “(1) enable the
vessel to meet applicable standards to become a vessel of the United States; or (2) [] convert the
vessel to a more useful military configuration.” See AR 1493, 1542. Changing the name of the
vessel to TransPacific was not a prerequisite to becoming a United States vessel, nor did the
change convert the Bonito to a more useful military configuration. See Gov’t Op. and Resp. at
33. Although Coast Guard regulations require that “the name of the vessel must be marked on
some clearly visible exterior part of the port and starboard bow and the stern of the vessel[,]”
whether the vessel’s name was marked as Bonito or TransPacific is not relevant to U.S. flagging
requirements. See 46 C.F.R. § 67.123(a) (“[T]he name of the vessel must be marked on some
clearly visible exterior part of the port and starboard bow and the stern of the vessel. The hailing
port of the vessel must be marked on some clearly visible exterior part of the stern of the
vessel.”).

        Sealift responds that the Coast Guard requires that “the name of the vessel must be
marked on some clearly visible exterior part of the port and starboard bow and the stern of the
vessel[,]” or no Certificate of Documentation will be issued. See 46 C.F.R. § 67.120. Therefore,
the painting of “TransPacific” on the Bonito’s hull was a reflagging action. See Pl. Reply at 10-
11. In addition, Sealift insists that TAL had new piping installed in the Bonito in Singapore,
because it would be “commercially unrealistic” to remove and reinstall the “original” pipes. See
Pl. Reply at 13. Assuming that TAL split the work between Singapore as well as Guam, the eight
days of work done in Singapore still constitutes reflagging and repair work within the plain
meaning of 10 U.S.C. § 2631(b), DFARS 252.247-7025, and the Solicitation. See Pl. Reply at
13.

         The Government replies that the “plain language of [10 U.S.C. § 2631(b)] does not
incorporate the removal and reinstallation of piping that TAL had performed in Singapore.”
Gov’t Reply at 11. Although the new piping that met Coast Guard standards may have been
purchased in Singapore, the original piping that did not meet standards was replaced in Guam.
Id. at 11-12. Moreover, even if the Bonito’s name was changed in Singapore, that action was not
reflagging work under 10 U.S.C. § 2631(b), because the name did not need to be changed to meet
Coast Guard standards. Id. at 12 (“[T]he name was changed at the preference of the owners.”).
Therefore, no work to “enable the vessel to meet applicable standards to become a vessel of the
United States” was completed in Singapore. See 10 U.S.C. § 2631(b)(2)(A).

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                                 ii.     The Court’s Resolution

          Count II of the Amended Complaint states that “TAL’s vessel [Bonito] was and remains
 ineligible for award . . . under the Cargo Preference Act of 1904, 10 U.S.C. § 2631, by reason of
 the reflagging24 and repair work done outside the United States.” Amend. Compl. ¶ 43. That Act,
 however, contains neither a right of action nor remedy. Therefore, even if the Government failed
 to comply with this Act, the court has no jurisdiction to set aside the contract at issue on that basis
 alone.

         Moreover, the text and legislative history of 10 U.S.C. § 2631(b)(1), indicate that
 Congress intended to rely on the United States Government to enforce the reflagging
 requirements, and Sealift’s interests are only “marginally related to” and “inconsistent with the
 purposes implicit in the statute.” Clarke v. Securities Indus. Ass’n, 479 U.S. 388, 399 (1987).
 Therefore, Sealift cannot show that it is within the “zone of interests” protected by the provisions
 of 10 U.S.C. § 2631(b)(1). See U.S. Coast Guard, NVIC 10-81, Guide For Coast Guard
 Certification And Inspection Of Certain Categories Of Existing Vessels, www.uscg.mil.hq/g-
 m/NVIC/10_81/n10-81.htm (“NVIC 10-81”) (“Existing foreign flag vessels may be brought



       24
            The text of the 10 U.S.C. § 2631(b)(3) does not define what specific work constitutes
“reflagging,” and the legislative history is not instructive.
         In the Spanish–American War, the U.S. Merchant Marine had been unable adequately to
provide for the shipment of military supplies. See H.R. Rep. No. 58-1893, at 3 (1904).
Consequently, the U.S. Military was forced to purchase a large number of ships in a very short
period, at an exorbitantly high price. Id. Even when the ships had been purchased, sufficient
numbers of American sailors could not be found and the foreign sailors who had previously piloted
the vessels were unwilling to risk their lives by participating in a foreign conflict. Id. As a result,
the US military was unable effectively to confront even a “feeble third-rate power[.]” Id. Congress
determined that the outcome of future conflicts would “depend upon the sea power of the country
for their successful termination.” Id.
         In response to these problems, the Senate proposed a bill to bolster the U.S. Merchant Marine
by requiring that only American vessels be used to ship military supplies. See S. Rep. No. 58-182,
at 1 (1904). This requirement prevented American shippers from being undercut by cheaper foreign
competitors. Id. at 2-3. The debate on S. Rep. No. 58-182 centered on whether the bill would
accomplish that purpose. The Minority Report did not dispute that bolstering the Merchant Marine
was a worthy goal but instead argued that the bill was a subsidy to U.S. merchants and sailors. See
H.R. Rep. No. 58-1893, at 1-2 (1904) (Minority Report); see also H.R. Rep. No. 58-1893 (1904)
(Part III, Report of Congressman Small). Some Members were concerned that U.S. vessels would
cost more than foreign vessels and that U.S. merchants would be able to drive up the price of their
services. Therefore, Subsection (b) was added in 1993 as part of the National Defense Authorization
Act for Fiscal Year 1994. See Pub. L. 103-160 § 315(a). The Congressional Record includes no
comment on this provision of the bill.

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under a U.S. flag in a manner consistent with the principles and levels of safety in current Coast
Guard regulations.”).

        The CICA, however, requires that executive agencies procure property or services to
“obtain full and open competition through the use of competitive procedures[.]” 41 U.S.C. §
253(a)(1)(A). A post-award modification of a contract that “materially departs from the scope
of the original procurement violates the CICA by preventing potential bidders from participating
or competing for what should be a new procurement.” CESC Plaza Ltd. v. United States, 52 Fed.
Cl. 91, 93 (2002) (emphasis added). In this case, Sealift has the burden to demonstrate that any
modification that took place was materially different from the March 31, 2006 Solicitation. See
AT&T Commc’n, Inc. v. Wiltel, Inc., 1 F.3d 1201, 1205 (Fed. Cir. 1993) (“[The] CICA . . . does
not prevent modification of a contract by requiring a new bid procedure for every change. Rather
only modifications outside the scope of the original competed contract fall under the statutory
competition requirement.”); see also Cygnus Corp., Inc. v. United States, 72 Fed. Cl. 380, 387
(2006) (“To prevail on a CICA claim, [Sealift] must show (1) that there was a modification; and
(2) that modification materially changed the scope of the original contract.”). To determine
whether a contract is “materially different,” the court must consider “whether the original
contract, as modified, calls for ‘essentially the same performance.’” Cardinal Maint. Serv.,
Inc. v. United States, 63 Fed. Cl. 98, 106 (2004) (quoting Executive Bus. Media, Inc. v. United
States Dep't. of Defense, 3 F.3d 759, 764 (4th Cir. 1993)).

        The Administrative Record includes invoices evidencing that some work that allowed the
Bonito to be flagged as a United States vessel occurred in Singapore. See AR 2782, 2785.
Nevertheless, the majority of the reflagging work, and the work specifically understood by the
CO to fall under 10 U.S.C. § 2631(b)(3), was performed and completed in Guam. See AR 2788-
89, 2823. Therefore, the Administrative Record does not evidence that the work completed in
Singapore was a material modification of the Solicitation. See Cardinal Maint. Serv., Inc., 63
Fed. Cl. at 106. Instead, the Administrative Record evidences that the Bonito already was a U.S.
flagged vessel at the time the CO accepted the vessel. Therefore, that acceptance was not
arbitrary, capricious, nor a violation of law. See AR 3009-10; see also NVIC 10-81 (“Existing
foreign flag vessels may be brought under a U.S. flag in a manner consistent with the principles
and levels of safety in current Coast Guard regulations.”); Galen Med. Assocs., 369 F.3d at 1329
(“[A] bid award may be set aside if either (1) the procurement official’s decision lacked a rational
basis; or (2) the procurement procedure involved a violation of regulation or procedure.”)
(internal citations omitted) (emphasis added). For these reasons, the court has determined that
the reflagging work performed in Singapore did not violate the Competition in Contracting Act
of 1984.




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                        c.     Failure To Timely Obtain Proper Facilities Clearance.

                               i.      The Parties’ Arguments.

         The March 31, 2006 Solicitation required offerors to “comply with all administrative
 requirements, including the necessary investigative actions required by the Government to obtain
 a Government facilities clearance.” AR 1529. The Solicitation also required that “corporate
 officers and at least the Master, Chief Mate, and one additional officer (deck or engineering) of
 the Vessel [] be cleared to receive information up to and including SECRET.” Id.

         The August 30, 2007 Amended Complaint alleges that, because the Bonito’s crew
 members did not have the appropriate clearances when the vessel began operation on November
 19, 2006, MSC materially changed the March 31, 2006 Solicitation’s terms. See Amend Compl.
 ¶¶ 47, 48; see also Pl. Mem. at 28-29. The Government responds that the Solicitation “did not
 establish a specific date by which TAL had to receive its clearances.” Gov’t Op. and Resp. at 38
 (citing AR 1529). The Bonito’s crew received the appropriate clearances on October 16, 2007,
 because the Defense Security Service (“DSS”), the agency that processes security clearances, was
 backlogged with over 3,000 pending applications. See Gov’t Op. and Resp. at 38-39 (citing AR
 2483 (Decision To Halt Security Clearance Processing Prompts Outcry, www.Govexec.com)).


                               ii.     The Court’s Resolution.

         The court has determined that the CO did not change any material provisions of the March
 31, 2006 Solicitation, requiring the awardee to “comply with all administrative requirements,”
 including “the necessary investigative actions required by the Government to obtain a
 Government facilities clearance.” AR 1529 (emphasis added). The Administrative Record
 evidences that TAL obtained the required clearances. See AR 3048-49 (Oct. 26, 2007 letters from
 DSS). Sealift did not argue otherwise. The March 31, 2006 Solicitation also required that certain
 corporate officers be “cleared to receive information up to and including SECRET.” AR 1529.
 Although TAL did not acquire these clearances until October 26, 2007, TAL acquired an interim
 security clearance to receive secret information.25 See AR 3048-49.

         Assuming, arguendo, that TAL did not obtain the required clearances prior to the Bonito’s
 deliverance on November 19, 2006, that event alone was not a “material change” from the
 Solicitation. See AT&T Commc’n, Inc., 1 F.3d at 1205 (“In determining whether a modification
 falls within CICA’s competition requirement, this court examines whether the contract as
 modified materially departs from the scope of the original procurement.”). Allowing TAL
 additional time to obtain required clearances was not “outside the scope of the original competed


       25
          Although the record does not evidence when the interim clearance was granted, Sealift did
not establish that the CO waived this contract requirement. See Cygnus Corp., 72 Fed. Cl. at 387.

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contract,” because DSS, the only agency that grants security clearances, delayed the processing
of applications. Id.

        For these reasons, the court has determined that the timeliness of the requested clearances
did not violate the Competition in Contracting Act of 1984.

                        d.       Transatlantic Lines, Ltd.’s Use Of Alien Crew Members.

                                 i.      The Parties’ Arguments.

         The March 31, 2006 Solicitation required that the “Masters, Officers, and entire crew []
be U.S. citizens” and that the winning offeror “must provide an accurate and current crew list no
later than 96 hours prior to delivery of the vessel at the designated load or delivery port . . . , time
permitting.” See AR 1494, 1503-04. TAL’s proposal advised MSC that TAL intended to use
“US Officers and Crew as proposed.” AR 1859. As of October 27, 2006, however, the Bonito’s
crew list contained a non-U.S. citizen. See AR 3010.

         Sealift argues that, although MSC ordered the alien at issue removed from the Bonito, the
fact that TAL delivered the Bonito with an alien crew member evidences that MSC waived a
requirement of the March 31, 2006 Solicitation. See Pl. Mem. at 29-30. The Government
responds that the CO ordered that the alien crew member be removed from the Bonito. See Gov’t
Op. and Resp. at 39 (citing AR 2569 (Oct. 3, 2006 e-mail from the CO ordering TAL to “confirm
acknowledgment that the crew will be 100% U.S. citizens by vessel delivery”); AR 2676 (Nov.
20, 2006 e-mail from MSC to the CO stating: “Also noted at the onhire that the Filipino cook was
stil[l] on boa[r]d. This must be rectified before sailing from Okinawa.”); AR 3010 (Oct. 26, 2007
crew list)). Accordingly, the Government argues that MSC was diligent in enforcing the March
31, 2006 Solicitation’s requirements. See Gov’t Op. and Resp. at 39.

                                 ii.     The Court’s Resolution.

        The Administrative Record does not evidence that the CO waived the March 31, 2006
Solicitation’s requirement that the crew consist of only U.S. citizens. See AR 2569; see also AR
2676; AR 3010. Instead, the CO acted to enforce the requirements of the March 31, 2006
Solicitation when he learned that TAL was in potential violation. Id. Accordingly, the court has
determined that the March 31, 2006 Solicitation was not modified in any material manner. See
Cygnus Corp., Inc., 72 Fed. Cl. at 387 (“To prevail on a CICA claim, Plaintiff must show (1) that
there was a modification; and (2) that modification materially changed the scope of the original
contract.”). For these reasons, the court has determined that the delivery of the Bonito with an
alien crew member did not violate the Competition in Contracting Act of 1984.




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                            e.        Military Sealift Command’s Waiver Of The Delivery Date.

                                      i.      The Parties’ Arguments.

          The March 31, 2006 Solicitation initially required a delivery date of October 10, 2006.
   See AR 1486. Prior to award, however, the Solicitation was amended to allow an October 31,
   2006 delivery date. See AR 1593 (June 20, 2006 Modification). Nevertheless, MSC did not
   accept actual delivery of the Bonito until November 19, 2006. See AR 2673 (Certificate of
   Delivery). The Amended Complaint alleges that the 19-day delay requiring “MSC to extend the
   Montauk, at an additional cost of over $1,461,000,” was a material change from the March 31,
   2006 Solicitation, because failure to deliver the vessel by October 31, 2006 could have resulted
   in cancellation of the contract. See Amend. Compl. ¶ 35; see also Pl. Mem. at 30 (citing AR
   2742-43 (July 31, 2006 Debriefing) (“Will MSC give the awardee an extension to ensure the
   vessel will be able to meet all the requirements? It is not in the Government’s interest to allow
   an extension. However, it is ultimately the Contracting Officer’s decision and said decision will
   be made on a case-by-case basis.”)).

           The Government responds that a 19-day waiver is not a material change. See Gov’t Op.
   and Resp. at 41-42 (citing CWT/Alexander Travel Ltd. v. United States, 78 Fed. Cl. 486, 495
   (2007) (determining that a two-year delay was not a material change)). Moreover, Sealift’s Small
   Business Administration protest delayed the contract award by at least 16 days. Id. at 42. More
   significantly, however, the contract extension did not affect the contract scope, price, or type of
   service. Id. at 43.

                                      ii.     The Court’s Resolution.

        The March 31, 2006 Solicitation authorized the CO to make “[c]hanges within the general scope
of any of the terms and conditions of [the] contract[.]” See AR 1500; see also AT&T Commc’n, Inc.,
1 F.3d at 1205 (“A modification generally falls within the scope of the original procurement if potential
bidders would have expected it to fall within the contract’s changes clause.”). Therefore, the court has
determined that the 19-day delay of the potential five-year contract at issue was not a material change
to the March 31, 2006 Solicitation and did not violate the Competition in Contracting Act of 1984. See
AT&T Commc’n, Inc., 1 F.3d at 1205 (“CICA, however, does not prevent modification of a contract by
requiring a new bid procedure for every change.”).

                       f.        Change In Vetting Requirements.

                                 i.         The Parties’ Arguments.

       The March 31, 2006 Solicitation also initially required that the awardee acquire vetting
approvals by September 20, 2006 from four commercial petroleum refiners: SSANGYONG;
Exxon-Mobil; Cal-Tex; and SK. See AR 1493. Prior to award, however, the CO changed the
requirements of the March 31, 2006 Solicitation to require that vetting certificates be obtained no later
than 10 days prior to vessel delivery. See AR 1593. On September 20, 2006, TAL advised the CO that
the major oil companies no longer issued “vetting certificates,” but instead performed a screening of


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 the vessel on a voyage-by-voyage basis. See AR 2542-43. After further evaluation, the CO allowed
 TAL to demonstrate that the Bonito was vetted by the four oil companies, specified in the March 31,
 2006 Solicitation, in lieu of providing vetting certificates. See AR 2569.

         Sealift concedes that official vetting certificates are no longer used. See 1/17/08 TR 22.
 Nevertheless, Sealift argues that “[t]here is no certificate or other evidence that the [Bonito] satisfied
 any vetting process for Cal-Tex or for other refineries[,]” other than a single letter from Cal-Tex that
 TAL did not meet the vetting standard. See Pl. Mem. at 27 (citing AR 2654-55 (Nov. 1, 2006 e-mail
 string between Cal-Tex and MSC re: “Vetting confirmation requested,” stating that Cal-Tex “accept[s]
 this vessel on the condition that the crew’s [sic] utmost attention and carefulness since [it is] her first
 time to our refinery.”)).

          The Government responds that SSANGYONG, Exxon-Mobil, Cal-Tex, and SK properly
 accepted the Bonito. See Gov’t Op. and Resp. at 44 (citing AR 2629-30 (Oct. 25, 2006 e-mail from Cal-
 Tex to MSC stating: “Re [vetting confirmation], we accept MV ‘Bonito’ as she was built in 2001, which
 means that she is [] acceptable to us with our vetting criteria.”)); see also AR 2612-14 (Oct. 23, 2006
 letter from TAL to the CO stating: “Exxon Mobil gave the BONITO a very high vetting score”); AR
 2646, 2648-53 (SK and Ssangyong Vetting Inspection Report by Captain Tom determining that the
 Bonito rated “Very Good”). In any event, “TAL has been performing on [the] contract, and has been
 accepted at all four oil refineries over the past 18 months.” Gov’t Op. and Resp. at 45 (citing AR 2208).
 In addition, the March 31, 2006 Solicitation allowed the CO to make “[c]hanges within the general
 scope of any of the terms and conditions of [the] contract[.]” Gov’t Op. and Resp. at 45 (quoting AR
 1500).

          Sealift replies that, since the Bonito was not reflagged until October 28, 2006, “no vetting of the
 US flag vessel and crew” could have occurred prior to that date. See Pl. Reply at 17-18 (emphasis in
 original). Therefore, the evidence cited by the Government does not demonstrate that the Bonito
 properly was vetted. See Pl. Reply at 17 (“[T]here is no indication that MSC accepted TAL’s
 representation that Captain Tom [vetted] Ssangyong and SK.”); see also id. (“There is no evidence that
 Cal-Tex had any inspection or other documentation to support its decision to permit the vessel to
 load.”).

                                 ii.     The Court’s Resolution.

         Sealift does not dispute that the March 31, 2006 Solicitation acknowledged that an official vetting
certificate was no longer required. See 1/17/08 TR 22; see, e.g., AR 2570 (Sept. 20, 2006 e-mail from TAL
to the CO stating: “Exxon Mobil does not give Vetting Approvals to any vessel that is not under time
charter to Exxon Mobil. Exxon Mobil only performs screening of vessels on a voyage basis.”). Therefore,
it was appropriate for the CO to change the type of documentation required to demonstrate that the Bonito
would be accepted by the four oil companies listed in the Solicitation. See AR 1493. The only issue is
whether the CO’s actions “circumvent[ed] the statutory requirement of competition.” See AT&T Commc’n,
Inc., 1 F.3d at 1205. The Administrative Record evidences that TAL properly documented that the Bonito
would be able to operate at the four oil refineries. See AR 2612-14; see also AR 2629-30; AR 2646, 2648-
53. In addition, there is no evidence, after 18 months of operation, that the Bonito has experienced any
problems dealing with any of the aforementioned fuel companies. See AR 2208. Therefore, in comparing


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the March 31, 2006 Solicitation to the contract as modified, the court has determined that competition was
not affected. See AT&T Commc’n, Inc., 1 F.3d at 1205 (“The analysis thus focuses on the scope of the
entire original procurement in comparison to the scope of the contract as modified.”). For these reasons,
the court has determined that the change in vetting requirements did not violate the Competition in
Contracting Act of 1984.

IV.    CONCLUSION.

        For the aforementioned reasons, the court has determined that Plaintiff has not demonstrated that
the contract award was arbitrary, capricious, or otherwise unlawful. Moreover, even if the court had found
a violation, injunctive relief is not appropriate. See PGBA, LLC v. United States, 389 F.3d 1219, 1226
(Fed. Cir. 2004) (“We thus hold that, in a bid protest action, [28 U.S.C. §] 1491(b)(4) does not
automatically require a court to set aside an arbitrary, capricious, or otherwise unlawful contract award.”).
Sealift’s February 12, 2008 Motion For Judgment On The Administrative Record is denied.

        The Clerk of the United States Court of Federal Claims is directed to enter judgment in accordance
with this Memorandum Opinion and Final Order.

       IT IS SO ORDERED.

                                                       s/Susan G. Braden
                                                       SUSAN G. BRADEN
                                                       Judge




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